                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

                                  )
    IN RE: REALPAGE, INC., RENTAL )                    Case No. 3:23-md-3071
    SOFTWARE ANTITRUST LITIGATION )                    MDL No. 3071
    (NO. II)                      )
                                  )                    Chief Judge Waverly D. Crenshaw, Jr.
                                  )
                                  )                    This Document Relates to:
                                  )                    3:22-cv-01082
                                  )                    3:23-cv-00332
                                  )                    3:23-cv-00357
                                  )                    3:23-cv-00378
                                  )                    3:23-cv-00410
                                  )                    3:23-cv-00413
                                  )                    3:23-cv-00552
                                                       3:23-cv-00742
                                  )
                                                       3:23-cv-00979
                                  )



              JOINT REPORT CONCERNING RULE 26(f) CONFERENCE

       On January 25 and 29, 2024, counsel for Plaintiffs and the undersigned Defendants 1 (the

“Parties”) participated in the meetings required by Fed. R. Civ. P. 26(f) and this Court’s

instructions at the January 4, 2024 telephonic conference. During the January 25 and 29 meetings,

the Parties discussed case management planning and a discovery plan, including issues related to

electronic discovery, a protective order, expert discovery, privilege issues, and a deposition

protocol. The Rule 26(f) conference in this case is scheduled for February 16, 2024, at 1:00 p.m.

The Parties hereby submit the following report to assist the Court in identifying issues where the

Parties are in agreement and where the Court’s guidance is respectfully requested.




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  Defendants Prometheus Real Estate Group, Inc., Rose Associates, Inc., Sares Regis Group
Commercial, Inc. and CONTI Texas Organization Inc., d/b/a CONTI Capital do not join this
report, due to the pendency of their personal jurisdiction motion to dismiss and the subsequent
instructions from the Court to further brief these issues. See Dkt. 701, 712.
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I.     Pending Motions

       The Court’s Omnibus Order, and corresponding Memorandum Opinions, resolved most

pending Rule 12 motions filed by Defendants in this matter. Dkt. 685-691. After the Court issued

its Omnibus Order, only two Rule 12 motions remained: Defendant Apartment Income REIT

Corporation’s (“AIR”) Renewed Motion to Dismiss Plaintiffs’ Second Amended Consolidated

Class Action Complaint (Dkt. 695), and certain Defendants’ Motion to Dismiss Tennessee Actions

for Lack of Personal Jurisdiction and Improper Venue. Dkt. 583. With respect to the former,

Plaintiffs and AIR have reached a settlement in principle, and AIR has withdrawn its motion

without prejudice. Dkt. 715. With respect to the latter, Plaintiffs and the remaining Defendants

who maintain that motion (CONTI Texas Organization Inc., d/b/a CONTI Capital, Prometheus

Real Estate Group, Inc., Rose Associates, Inc., and Sares Regis Group Commercial, Inc.) are

submitting additional briefing today concerning the Court’s ability to transfer actions under 28

U.S.C. § 1631. Dkt. 712.

II.    Settlement and Mediation

       On February 2, 2024, Plaintiffs and Pinnacle Property Management Services, LLC

(“Pinnacle”) informed the Court that they had reached a settlement in principle. Dkt. 714. On

February 5, 2024, Plaintiffs and AIR informed the Court that they had reached a settlement in

principle. Dkt. 715. Plaintiffs are working closely with both Pinnacle and AIR to convert their term

sheets into long-form settlement agreements to submit to the Court for preliminary approval.

       Plaintiffs and a subset of Defendants engaged in a mediation with the assistance of Court-

appointed mediator Clay Cogman on October 24, 2023. Plaintiffs and additional subsets of

Defendants have scheduled two additional mediations for March 15, 2024 and April 8, 2024, with

the assistance of Mr. Cogman and Court-appointed mediator the Honorable Layn Phillips.



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Plaintiffs and certain Defendants also continue to engage in ongoing, bilateral settlement

discussions.

III.   Case Schedule and Discovery Limits

       The Parties have met and conferred repeatedly regarding a proposed case schedule and

discovery limits. While the Parties have reached agreement on most issues, a few outstanding

disputes remain. Attached as Exhibit 1 is Plaintiffs’ proposed Case Management Order, and

attached as Exhibit 2 is Defendants’ proposed Case Management Order. Attached as Exhibit 3 is

a chart comparing the Parties’ proposals. The key areas of disagreement between the proposals are

set forth in Appendix A. 2

IV.    Stipulated Discovery Orders

       The Parties have also met and conferred on numerous occasions regarding an order

covering the production of electronically stored information (“ESI”), a Protective Order, a

deposition protocol, a Rule 502 Order governing privilege issues, and an order governing expert

discovery.

       The Parties have reached agreement on the expert discovery order and the deposition

protocol, and will file the stipulated orders before the February 16, 2024 Status Conference.

       As to the ESI Protocol and the Protective Order, the Parties have worked together

cooperatively and have largely reached agreement, but some outstanding disputes regarding

specific provisions remain. Charts identifying the disputed provisions of the ESI Protocol and the

Protective Order, and briefly describing the parties’ positions, are attached hereto as Appendices



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  Plaintiffs and Defendants may have an additional disagreement concerning when experts should,
and the number of times an expert may, be deposed. Given the overarching dispute concerning
the expert discovery schedule discussed in Appendix A, the Parties have agreed to defer this
dispute until the Court sets a schedule, after which they will meet and confer and attempt to resolve
the dispute without Court intervention.
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B (ESI Protocol) and C (Protective Order). The Parties respectfully request that the Court resolve

these disputed issues, after which the Parties will submit final versions of stipulated orders. The

Parties will be prepared to discuss their respective positions at the Status Conference. Regarding

the 502(d) Order, the Parties are still negotiating and expect that they will be able to narrow the

outstanding areas of dispute. The Parties will continue to meet and confer on the 502(d) Order

and will update the Court on their progress in advance of the February 16, 2024 conference.

V.     Other Issues

       A.      Preservation Notices

               PLAINTIFFS:

       Plaintiffs’ counsel instructed each Plaintiff of their obligations to preserve documents at

the time that each Plaintiff retained counsel.

               DEFENDANTS:

       As requested by the Court, and without waiving any privilege or protection against

discovery, including the attorney-client privilege or work product protection, the undersigned

Defendants state that they have issued preservation notices covering appropriate individuals and

forms of communication. The undersigned Defendants issued their initial preservation notices on

the dates in the chart attached as Appendix D.

       B.      Anticipated Fact Discovery Hot Spots

               PLAINTIFFS:

       Plaintiffs anticipate that timely receipt of document productions, which are likely to be

voluminous, will be a key factor in moving this case forward. Upon receiving initial disclosures,

Plaintiffs are committed to working cooperatively with Defendants to quickly identify custodians

for document production. Plaintiffs are concerned that an information asymmetry may make it

difficult to identify key individuals and search terms, especially given that each defendant may

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have many individuals responsible for RMS usage and terms unique to each company. This is why

Plaintiffs have taken steps to frontload certain discovery issues, by 1) serving document and

structured data requests in advance of the 26(f) conference, giving Defendants extra time to review

and respond (as discussed further below, in Appendix A), and 2) seeking some targeted additional

initial discovery (i.e., production of any documents that have previously been produced to the

government and expanded disclosures of key individuals) early in the discovery process to

streamline future negotiations.

       Plaintiffs also anticipate that structured data discovery will be complex, especially given

the number of Defendants, but are hopeful that RealPage will help to facilitate data production. In

building the schedule, Plaintiffs were mindful that they require a complete set of structured data

with enough lead time before class certification to ensure that the Court has a strong basis for

consideration of Plaintiffs’ motion to certify a class. Plaintiffs believe that the Parties have agreed

to such a schedule, with interim deadlines to ensure timely completion.

       Plaintiffs also anticipate that the orderly scheduling of depositions may be problematic

unless the parties agree to a structured process to promptly identify dates that work for witnesses

and counsel alike.

               DEFENDANTS:

       The undersigned Defendants do not anticipate any particular discovery disputes, other than

those that this report identifies. Given the size and complexity of this case, additional disputes

may arise despite the Parties’ best efforts to avoid them. If and when additional disputes arise, the

undersigned Defendants intend to work in good faith with Plaintiffs to propose reasonable

compromises and avoid expending judicial resources to resolve the disputes.




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       C.       Discovery Vendors That Will Be Used in This Case

                PLAINTIFFS:

       Plaintiffs will use CS Disco, Inc. as their discovery vendor and Digital Evidence Group,

L.L.C., as their vendor for court reporting services.

                DEFENDANTS:

       Defendants have engaged the following discovery vendors to date: Array, Berkeley

Research Group, Cimplifi, Consilio, DISCO, Edge Information Solutions Inc., d/b/a HG Edge,

Epiq, Gulfstream Legal Group, Innovative Driven, KLDiscovery, Lineal, Nextra Solutions, and

TransPerfect.

       D.       Terminating Unnamed Plaintiff Cases

       On September 27, 2023, the Parties filed a stipulation of dismissal for certain plaintiffs

who were not named in the Second Amended Consolidated Class Action Complaint. Dkt. 554. On

October 4, 2023, pursuant to the Parties’ stipulation, the Court dismissed forty-five (45) plaintiffs

without prejudice from the MDL who were not named in the operative complaints (the “Unnamed

Plaintiffs”). Dkt. 563. This dismissal affected twenty-nine (29) actions, which have not yet been

administratively terminated. The Parties respectfully request that the Court administratively

terminate the dockets of the following cases consistent with its October 4, 2023 order, including:

                             Case Name                           M.D. Tenn. Case No.
             1. Alvarez et al. v. RealPage Inc., et al.          3:23-cv-00331
             2. Armas et al. v. RealPage Inc., et al.            3:23-cv-00333
             3. Bauman v. RealPage, Inc. et al.                  3:23-cv-00326
             4. Bertlshofer v. RealPage Incorporated et al.      3:23-cv-00377
             5. Blosser v. RealPage, Inc., et al.                3:23-cv-00445
             6. Boelens v. RealPage Inc et al.                   3:23-cv-00338
             7. Carter v. RealPage, Inc., et al.                 3:23-cv-00411
             8. Corradino et al. v. RealPage Inc., et al.        3:23-cv-00379
             9. Crook v. RealPage Inc., et al.                   3:23-cv-00387
             10. Enders v. RealPage Inc., et al.                 3:23-cv-00390
             11. Godfrey v. RealPage Inc., et al.                3:23-cv-00344

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            12. Hardie et al. v. RealPage Inc., et al.         3:23-cv-00388
            13. Johnson v. RealPage Inc., et al.               3:23-cv-00334
            14. Kramer v. RealPage Inc., et al.                3:23-cv-00389
            15. Lai Cheong v. RealPage, Inc., et al.           3:23-cv-00416
            16. Mackie v. RealPage Inc., et al.                3:23-cv-00358
            17. Marchetti v. RealPage Inc., et al.             3:23-cv-00380
            18. Moore v. The Irvine Co., LLC, et al.           3:23-cv-00339
            19. Morgan et al. v. RealPage Inc., et al.         3:23-cv-00330
            20. Navarro v. RealPage Inc., et al.               3:23-cv-00329
            21. Pham et al. v. RealPage Inc., et al.           3:23-cv-00337
            22. Precht v. RealPage Inc., et al.                3:23-cv-00412
            23. Saloman et al. v. RealPage Inc., et al.        3:23-cv-00381
            24. Schmidig v. RealPage Inc., et al.              3:23-cv-00391
            25. Silverman et al. v. RealPage Inc., et al.      3:23-cv-00335
            26. Spencer v. RealPage Inc., et al.               3:23-cv-00415
            27. Weller v. RealPage Inc., et al.                3:23-cv-00414
            28. Zhovmiruk v. RealPage Inc., et al.             3:23-cv-00345
            29. Kramer v. RealPage Inc., et al.                3:23-cv-00356

       In addition, these 29 actions are now no longer part of the MDL. In light of JPML Rule

10.1, both Plaintiffs and Defendants respectfully request that the Panel be notified about the

dismissal of the Unnamed Plaintiffs and the termination of those underlying actions.



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 with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

 to the email addresses denoted on the Electronic Mail Notice List.

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